Case 1:01-cv-12257-PBS Document 6208-2 Filed 06/29/09 Page 1 of 124




                    EXHIBIT 1
Case 1:01-cv-12257-PBS Document 6208-2 Filed 06/29/09 Page 2 of 124
Case 1:01-cv-12257-PBS Document 6208-2 Filed 06/29/09 Page 3 of 124
Case 1:01-cv-12257-PBS Document 6208-2 Filed 06/29/09 Page 4 of 124
Case 1:01-cv-12257-PBS Document 6208-2 Filed 06/29/09 Page 5 of 124
Case 1:01-cv-12257-PBS Document 6208-2 Filed 06/29/09 Page 6 of 124
Case 1:01-cv-12257-PBS Document 6208-2 Filed 06/29/09 Page 7 of 124
Case 1:01-cv-12257-PBS Document 6208-2 Filed 06/29/09 Page 8 of 124
Case 1:01-cv-12257-PBS Document 6208-2 Filed 06/29/09 Page 9 of 124
Case 1:01-cv-12257-PBS Document 6208-2 Filed 06/29/09 Page 10 of 124
Case 1:01-cv-12257-PBS Document 6208-2 Filed 06/29/09 Page 11 of 124
Case 1:01-cv-12257-PBS Document 6208-2 Filed 06/29/09 Page 12 of 124
Case 1:01-cv-12257-PBS Document 6208-2 Filed 06/29/09 Page 13 of 124
Case 1:01-cv-12257-PBS Document 6208-2 Filed 06/29/09 Page 14 of 124
Case 1:01-cv-12257-PBS Document 6208-2 Filed 06/29/09 Page 15 of 124
Case 1:01-cv-12257-PBS Document 6208-2 Filed 06/29/09 Page 16 of 124
Case 1:01-cv-12257-PBS Document 6208-2 Filed 06/29/09 Page 17 of 124
Case 1:01-cv-12257-PBS Document 6208-2 Filed 06/29/09 Page 18 of 124
Case 1:01-cv-12257-PBS Document 6208-2 Filed 06/29/09 Page 19 of 124
Case 1:01-cv-12257-PBS Document 6208-2 Filed 06/29/09 Page 20 of 124
Case 1:01-cv-12257-PBS Document 6208-2 Filed 06/29/09 Page 21 of 124
Case 1:01-cv-12257-PBS Document 6208-2 Filed 06/29/09 Page 22 of 124
Case 1:01-cv-12257-PBS Document 6208-2 Filed 06/29/09 Page 23 of 124
Case 1:01-cv-12257-PBS Document 6208-2 Filed 06/29/09 Page 24 of 124
Case 1:01-cv-12257-PBS Document 6208-2 Filed 06/29/09 Page 25 of 124
Case 1:01-cv-12257-PBS Document 6208-2 Filed 06/29/09 Page 26 of 124
Case 1:01-cv-12257-PBS Document 6208-2 Filed 06/29/09 Page 27 of 124
Case 1:01-cv-12257-PBS Document 6208-2 Filed 06/29/09 Page 28 of 124
Case 1:01-cv-12257-PBS Document 6208-2 Filed 06/29/09 Page 29 of 124
Case 1:01-cv-12257-PBS Document 6208-2 Filed 06/29/09 Page 30 of 124
Case 1:01-cv-12257-PBS Document 6208-2 Filed 06/29/09 Page 31 of 124
Case 1:01-cv-12257-PBS Document 6208-2 Filed 06/29/09 Page 32 of 124
Case 1:01-cv-12257-PBS Document 6208-2 Filed 06/29/09 Page 33 of 124
Case 1:01-cv-12257-PBS Document 6208-2 Filed 06/29/09 Page 34 of 124
Case 1:01-cv-12257-PBS Document 6208-2 Filed 06/29/09 Page 35 of 124
Case 1:01-cv-12257-PBS Document 6208-2 Filed 06/29/09 Page 36 of 124
Case 1:01-cv-12257-PBS Document 6208-2 Filed 06/29/09 Page 37 of 124
Case 1:01-cv-12257-PBS Document 6208-2 Filed 06/29/09 Page 38 of 124
Case 1:01-cv-12257-PBS Document 6208-2 Filed 06/29/09 Page 39 of 124
Case 1:01-cv-12257-PBS Document 6208-2 Filed 06/29/09 Page 40 of 124
Case 1:01-cv-12257-PBS Document 6208-2 Filed 06/29/09 Page 41 of 124
Case 1:01-cv-12257-PBS Document 6208-2 Filed 06/29/09 Page 42 of 124
Case 1:01-cv-12257-PBS Document 6208-2 Filed 06/29/09 Page 43 of 124
Case 1:01-cv-12257-PBS Document 6208-2 Filed 06/29/09 Page 44 of 124
Case 1:01-cv-12257-PBS Document 6208-2 Filed 06/29/09 Page 45 of 124
Case 1:01-cv-12257-PBS Document 6208-2 Filed 06/29/09 Page 46 of 124
Case 1:01-cv-12257-PBS Document 6208-2 Filed 06/29/09 Page 47 of 124
Case 1:01-cv-12257-PBS Document 6208-2 Filed 06/29/09 Page 48 of 124
Case 1:01-cv-12257-PBS Document 6208-2 Filed 06/29/09 Page 49 of 124
Case 1:01-cv-12257-PBS Document 6208-2 Filed 06/29/09 Page 50 of 124
Case 1:01-cv-12257-PBS Document 6208-2 Filed 06/29/09 Page 51 of 124
Case 1:01-cv-12257-PBS Document 6208-2 Filed 06/29/09 Page 52 of 124
Case 1:01-cv-12257-PBS Document 6208-2 Filed 06/29/09 Page 53 of 124
Case 1:01-cv-12257-PBS Document 6208-2 Filed 06/29/09 Page 54 of 124
Case 1:01-cv-12257-PBS Document 6208-2 Filed 06/29/09 Page 55 of 124
Case 1:01-cv-12257-PBS Document 6208-2 Filed 06/29/09 Page 56 of 124
Case 1:01-cv-12257-PBS Document 6208-2 Filed 06/29/09 Page 57 of 124
Case 1:01-cv-12257-PBS Document 6208-2 Filed 06/29/09 Page 58 of 124
Case 1:01-cv-12257-PBS Document 6208-2 Filed 06/29/09 Page 59 of 124
Case 1:01-cv-12257-PBS Document 6208-2 Filed 06/29/09 Page 60 of 124
Case 1:01-cv-12257-PBS Document 6208-2 Filed 06/29/09 Page 61 of 124
Case 1:01-cv-12257-PBS Document 6208-2 Filed 06/29/09 Page 62 of 124
Case 1:01-cv-12257-PBS Document 6208-2 Filed 06/29/09 Page 63 of 124
Case 1:01-cv-12257-PBS Document 6208-2 Filed 06/29/09 Page 64 of 124
Case 1:01-cv-12257-PBS Document 6208-2 Filed 06/29/09 Page 65 of 124
Case 1:01-cv-12257-PBS Document 6208-2 Filed 06/29/09 Page 66 of 124
Case 1:01-cv-12257-PBS Document 6208-2 Filed 06/29/09 Page 67 of 124
Case 1:01-cv-12257-PBS Document 6208-2 Filed 06/29/09 Page 68 of 124
Case 1:01-cv-12257-PBS Document 6208-2 Filed 06/29/09 Page 69 of 124
Case 1:01-cv-12257-PBS Document 6208-2 Filed 06/29/09 Page 70 of 124
Case 1:01-cv-12257-PBS Document 6208-2 Filed 06/29/09 Page 71 of 124
Case 1:01-cv-12257-PBS Document 6208-2 Filed 06/29/09 Page 72 of 124
Case 1:01-cv-12257-PBS Document 6208-2 Filed 06/29/09 Page 73 of 124
Case 1:01-cv-12257-PBS Document 6208-2 Filed 06/29/09 Page 74 of 124
Case 1:01-cv-12257-PBS Document 6208-2 Filed 06/29/09 Page 75 of 124
Case 1:01-cv-12257-PBS Document 6208-2 Filed 06/29/09 Page 76 of 124
Case 1:01-cv-12257-PBS Document 6208-2 Filed 06/29/09 Page 77 of 124
Case 1:01-cv-12257-PBS Document 6208-2 Filed 06/29/09 Page 78 of 124
Case 1:01-cv-12257-PBS Document 6208-2 Filed 06/29/09 Page 79 of 124
Case 1:01-cv-12257-PBS Document 6208-2 Filed 06/29/09 Page 80 of 124
Case 1:01-cv-12257-PBS Document 6208-2 Filed 06/29/09 Page 81 of 124
Case 1:01-cv-12257-PBS Document 6208-2 Filed 06/29/09 Page 82 of 124
Case 1:01-cv-12257-PBS Document 6208-2 Filed 06/29/09 Page 83 of 124
Case 1:01-cv-12257-PBS Document 6208-2 Filed 06/29/09 Page 84 of 124
Case 1:01-cv-12257-PBS Document 6208-2 Filed 06/29/09 Page 85 of 124
Case 1:01-cv-12257-PBS Document 6208-2 Filed 06/29/09 Page 86 of 124
Case 1:01-cv-12257-PBS Document 6208-2 Filed 06/29/09 Page 87 of 124
Case 1:01-cv-12257-PBS Document 6208-2 Filed 06/29/09 Page 88 of 124
Case 1:01-cv-12257-PBS Document 6208-2 Filed 06/29/09 Page 89 of 124
Case 1:01-cv-12257-PBS Document 6208-2 Filed 06/29/09 Page 90 of 124
Case 1:01-cv-12257-PBS Document 6208-2 Filed 06/29/09 Page 91 of 124
Case 1:01-cv-12257-PBS Document 6208-2 Filed 06/29/09 Page 92 of 124
Case 1:01-cv-12257-PBS Document 6208-2 Filed 06/29/09 Page 93 of 124
Case 1:01-cv-12257-PBS Document 6208-2 Filed 06/29/09 Page 94 of 124
Case 1:01-cv-12257-PBS Document 6208-2 Filed 06/29/09 Page 95 of 124
Case 1:01-cv-12257-PBS Document 6208-2 Filed 06/29/09 Page 96 of 124
Case 1:01-cv-12257-PBS Document 6208-2 Filed 06/29/09 Page 97 of 124
Case 1:01-cv-12257-PBS Document 6208-2 Filed 06/29/09 Page 98 of 124
Case 1:01-cv-12257-PBS Document 6208-2 Filed 06/29/09 Page 99 of 124
Case 1:01-cv-12257-PBS Document 6208-2 Filed 06/29/09 Page 100 of 124
Case 1:01-cv-12257-PBS Document 6208-2 Filed 06/29/09 Page 101 of 124
Case 1:01-cv-12257-PBS Document 6208-2 Filed 06/29/09 Page 102 of 124
Case 1:01-cv-12257-PBS Document 6208-2 Filed 06/29/09 Page 103 of 124
Case 1:01-cv-12257-PBS Document 6208-2 Filed 06/29/09 Page 104 of 124
Case 1:01-cv-12257-PBS Document 6208-2 Filed 06/29/09 Page 105 of 124
Case 1:01-cv-12257-PBS Document 6208-2 Filed 06/29/09 Page 106 of 124
Case 1:01-cv-12257-PBS Document 6208-2 Filed 06/29/09 Page 107 of 124
Case 1:01-cv-12257-PBS Document 6208-2 Filed 06/29/09 Page 108 of 124
Case 1:01-cv-12257-PBS Document 6208-2 Filed 06/29/09 Page 109 of 124
Case 1:01-cv-12257-PBS Document 6208-2 Filed 06/29/09 Page 110 of 124
Case 1:01-cv-12257-PBS Document 6208-2 Filed 06/29/09 Page 111 of 124
Case 1:01-cv-12257-PBS Document 6208-2 Filed 06/29/09 Page 112 of 124
Case 1:01-cv-12257-PBS Document 6208-2 Filed 06/29/09 Page 113 of 124
Case 1:01-cv-12257-PBS Document 6208-2 Filed 06/29/09 Page 114 of 124
Case 1:01-cv-12257-PBS Document 6208-2 Filed 06/29/09 Page 115 of 124
Case 1:01-cv-12257-PBS Document 6208-2 Filed 06/29/09 Page 116 of 124
Case 1:01-cv-12257-PBS Document 6208-2 Filed 06/29/09 Page 117 of 124
Case 1:01-cv-12257-PBS Document 6208-2 Filed 06/29/09 Page 118 of 124
Case 1:01-cv-12257-PBS Document 6208-2 Filed 06/29/09 Page 119 of 124
Case 1:01-cv-12257-PBS Document 6208-2 Filed 06/29/09 Page 120 of 124
Case 1:01-cv-12257-PBS Document 6208-2 Filed 06/29/09 Page 121 of 124
Case 1:01-cv-12257-PBS Document 6208-2 Filed 06/29/09 Page 122 of 124
Case 1:01-cv-12257-PBS Document 6208-2 Filed 06/29/09 Page 123 of 124
Case 1:01-cv-12257-PBS Document 6208-2 Filed 06/29/09 Page 124 of 124
